UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:
                                                            Case No. 19-20905
 The Diocese of Rochester,
                                                            Chapter 11
                                          Debtor.


          NOTICE OF MOTION OF THE OFFICIAL COMMITTEE
             OF UNSECURED CREDITORS FOR AN ORDER
     GRANTING LEAVE, STANDING, AND AUTHORITY TO PROSECUTE
 CERTAIN CAUSES OF ACTION ON BEHALF OF THE DEBTOR AND ITS ESTATE

          PLEASE TAKE NOTICE that on August 22, 2023, the Official Committee of Unsecured

Creditors (the “Committee”) of the above-captioned debtor and debtor in possession (the

“Debtor”), filed the Motion of the Official Committee of Unsecured Creditors for an Order

Granting Leave, Standing, and Authority to Prosecute Certain Causes of Action on Behalf of the

Debtor and Its Estate.

          PLEASE TAKE FURTHER NOTICE that the Committee will move before the

Honorable Paul R. Warren, United States Bankruptcy Judge for the Western District of New

York, at the United States Courthouse, 100 State Street, Rochester, New York on October 5,

2023 at 11:00 a.m. (prevailing Eastern Time), or as soon thereafter as counsel may be heard,

for the entry of an order granting the relief sought in the Motion, and for such other and further

relief as the Court deems just and proper.

          PLEASE TAKE FURTHER NOTICE that any objections or responses to the Motion

must be in writing, conform to the Federal Rules of Bankruptcy Procedure, and the Local

Bankruptcy Rules for the Western District of New York and be filed with the Court and served

so as to be actually received on or before October 2, 2023 (prevailing Eastern Time) (the

“Objection Deadline”) by the following parties: (a) counsel to the Official Committee of



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Unsecured Creditors, Pachulski, Stang, Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New

York, NY 10017, Attn: James I. Stang and Ilan Scharf; (b) Special Insurance Counsel to the

Committee, Burns Bair LLP, 10 E. Doty St., Suite 600, Madison, WI 53703, Attn: Timothy W.

Burns and Jesse J. Bair; (c) counsel to the Debtor, Bond, Schoeneck & King, PLLC, One Lincoln

Center, Syracuse, New York 13202, Attn: Stephen A. Donato and Charles J. Sullivan; (d) the

Office of the United States Trustee, Federal Office Building, 100 State Street, Rochester, New

York 14614 (Attn: Kathleen D. Schmitt) and the Office of the United States Trustee, 201 Varick

Street, Suite 1006, New York, New York 10014 (Attn: Shannon A. Scott, Esq.); and (e) those

persons who have formally appeared and requested service in this case pursuant to Rule 2002 of

the Federal Rules of Bankruptcy Procedure.

        PLEASE TAKE FURTHER NOTICE that a copy of the Motion and all other documents

filed in this Chapter 11 Case may be obtained free of charge at the Diocese’s case management

website (https://case.stretto.com/rochesterdiocese) or by contacting the undersigned counsel for

the Committee.

Dated: August 22, 2023
       New York, NY

                                                   PACHULSKI STANG ZIEHL & JONES LLP


                                                   By: /s/ Ilan D. Scharf
                                                   James I. Stang
                                                   Ilan D. Scharf
                                                   780 Third Avenue, 34th Floor
                                                   New York, NY 10017
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                                                   Counsel to the Official Committee of
                                                   Unsecured Creditors




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                                BURNS BAIR LLP

                                By: /s/ Jesse J. Bair
                                Timothy W. Burns (admitted pro hac vice)
                                Jesse J. Bair (admitted pro hac vice)
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                                Madison, Wisconsin 53703
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                                Special Insurance Counsel to the Official
                                Committee of Unsecured Creditors




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